
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-07-239-CR

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
		

REBECCA ELAINE YEARY			 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;			APPELLANT



V.

THE STATE OF TEXAS	STATE

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FROM COUNTY CRIMINAL 
COURT NO. 3 OF DENTON COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT
	

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We have considered the “Appellant’s Withdrawal Of Notice Of Appeal.” &nbsp;The motion complies with rule 42.2(a) of the rules of appellate procedure. 
 Tex. R.
 
App
. P. 42.2(a). &nbsp;No decision of this court having been delivered before we received this motion, we grant the motion and dismiss the appeal. &nbsp;
See id.;
 
Tex. R. App. P.
 43.2(f). 																															PER CURIAM



PANEL D:	
HOLMAN, GARDNER, and WALKER
, JJ.



DO NOT PUBLISH

Tex. R. App. P. 
47.2(b)



DELIVERED: August 29, 2007							

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




